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 8                              UNITED STATES DISTRICT COURT

 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   United States of America,                               No. 2:19-cr-00107-KJM
12                              Plaintiff,                   ORDER
13           v.
14
     Ronald Yandell. et al.,
15
                                Defendants.
16

17          Defendant Brant Daniel moves to dismiss the charges against him for violation of his

18   constitutional right to a speedy trial under the Sixth Amendment. ECF No. 1565. The

19   government opposes the motion, ECF No. 1613, and Daniel has replied, ECF No. 1619. The
20   court heard arguments at a hearing on September 20, 2023.

21          This court previously determined that Daniel will not be deprived of a speedy trial if he

22   must wait for the joint trial scheduled to begin in February 2024. See Order (Mar. 23, 2023) at

23   12–17, ECF No. 1474 (discussing Barker v. Wingo, 407 U.S. 514 (1972)). After reviewing

24   Daniels’ current motion, and considering counsel’s argument at hearing, the court perceives no

25   changes in the relevant facts or law, no clear error in its previous decision, no manifest injustice,

26   and no other reason to revisit that decision. See E.D. Cal. L.R. 430.1(i)(3) (requiring those who

27   move for reconsideration in criminal cases to explain “what new or different facts or

28   circumstances are claimed to exist that did not exist or were not shown upon such prior motion or

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1   what other grounds exist for the motion”); United States v. Davis, No. 98-00114,

2   2021 WL 1122574, at *2 (E.D. Cal. Mar. 24, 2021), aff’d, No. 21-10094, 2022 WL 1090945

3   (9th Cir. Apr. 12, 2022) (unpublished) (“[M]otions for reconsideration in criminal cases are

4   almost always denied when they rest on arguments or evidence the moving party previously

5   raised or could have raised and denial would not cause manifest injustice.”).

6          The motion to dismiss is denied without prejudice. This order resolves ECF No. 1565.

7          IT IS SO ORDERED.

8   DATED: September 22, 2023.




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